
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Plaintiffs on the 19th day of November 2007 in this matter pursuant to G.S. 730 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Dismissed by order of the Court in conference, this the 10th day of April 2008."
Upon consideration of the petition filed on the 19th day of November 2007 by Plaintiffs in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 10th day of April 2008."
MARTIN, J., recused.
